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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                          Case No. 18-cv-80176-BLOOM/Reinhart

  IRA KLEIMAN, et al.,

         Plaintiffs,
  v.

  CRAIG WRIGHT,

        Defendant.
  ______________________/

                 ORDER REFERRING MOTION TO MAGISTRATE JUDGE

         Pursuant to 28 U.S.C. § 636 and Local Magistrate Judge Rule 1, it is ORDERED that

  Plaintiff W&K Info Defense Research, LLC’s Motion for Entry of Default Against Garnishee

  Greenberg Traurig, PA, ECF No. [1068], is REFERRED to Magistrate Judge Bruce E. Reinhart

  for a Report and Recommendation.

         DONE AND ORDERED in Chambers at Miami, Florida, on February 27, 2024.




                                                    _________________________________
                                                    BETH BLOOM
                                                    UNITED STATES DISTRICT JUDGE

  Copies to:

  Counsel of Record
